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 8                                     UNITED STATES DISTRICT COURT

 9                                     EASTERN DISTRICT OF CALIFORNIA

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11    CESARIO VIZCARRA MEDINA,                          1:22-cv-00764-KES-EPG (PC)
12                        Plaintiff,                    ORDER RE: STIPULATION FOR
                                                        DISMISSAL OF ACTION WITH
13            v.                                        PREJUDICE AND DIRECTING THE
                                                        CLERK OF COURT TO CLOSE THE CASE
14    LUIS, et al.,
15                                                      (ECF No. 85)
                          Defendants.
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17           On March 20, 2025, Plaintiff Cesario Medina, pro se, and the two remaining Defendants,
18    A. Arisco and J. Luis, through their counsel, filed a joint stipulation dismissing this action with
19    prejudice, with each party to bear its own costs and fees. (ECF No. 85). In light of the parties’
20    stipulation, this action has been terminated, Fed. R. Civ. P. 41(a)(1)(A)(ii), and has been
21    dismissed with prejudice, with each party to bear its own costs and fees.
22           Accordingly, the Clerk of Court is directed to terminate all pending motions and deadlines
23    and to close this case.
24
25    IT IS SO ORDERED.

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         Dated:       March 24, 2025                             /s/
27                                                       UNITED STATES MAGISTRATE JUDGE
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